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                                                                                               1   David G. Barker (#024657)
                                                                                                   dbarker@swlaw.com
                                                                                               2   Jacob C. Jones (#029971)
                                                                                                   jcjones@swlaw.com
                                                                                               3   SNELL & WILMER L.L.P.
                                                                                                   One Arizona Center
                                                                                               4   400 E. Van Buren, Suite 1900
                                                                                                   Phoenix, Arizona 85004-2202
                                                                                               5   Telephone: (602) 382-6000
                                                                                                   Facsimile: (602) 383-6070
                                                                                               6
                                                                                                   TUCKER ELLIS LLP
                                                                                               7 David J. Steel, CA Bar No. 209797
                                                                                                   david.steele@tuckerellils.com
                                                                                               8 Howard A. Kroll CA Bar No. 100981
                                                                                                   howard.kroll@tuckerellis.com
                                                                                               9 Steven E. Lauridsen CA Bar No. 246364
                                                                                                   steven.lauridsen@tuckerellis.com
                                                                                              10 515 South Flower Street
                   Chicago ♦ Cleveland ♦ Columbus ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                   Forty-Second Floor
                                                                                              11 Los Angeles, CA 90071-2223
                                                                                                   Telephone:    (213) 430-3400
                                                                                              12 Facsimile:      (213) 430-3409
                                                                                              13 Attorneys for Plaintiffs,
TUCKER ELLIS LLP




                                                                                                   Meta Platforms, Inc (fka Facebook, Inc.),
                                                                                              14 Instagram, LLC and WhatsApp LLC

                                                                                              15                     IN THE UNITED STATES DISTRICT COURT
                                                                                              16                              FOR THE DISTRICT OF ARIZONA
                                                                                              17 Meta Platforms, Inc., et al.,                 Case No. CV-20-00470-PHX-GMS
                                                                                              18                   Plaintiffs,
                                                                                                                                               NOTICE OF SERVICE OF
                                                                                              19          v.                                   DISCOVERY
                                                                                              20   Namecheap, Inc., et al.,
                                                                                              21                   Defendants.
                                                                                                   AND RELATED COUNTERCLAIMS.
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                                                                                               1         Plaintiffs Meta Platforms, Inc., Instagram, LLC and WhatsApp Inc., served the
                                                                                               2 following discovery on Defendants via email on January 27, 2022:

                                                                                               3         Documents       bearing    Bates        numbers    FB_NAME_00051121             to
                                                                                               4 FB_NAME_00052281. These documents comprise additional correspondence recently

                                                                                               5 received from AppDetex as well as internal Meta Platforms, Inc. documents, each of

                                                                                               6   which is relevant to Defendants’ motion to compel (ECF No. 161).
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                                                                                                   DATED: January 28, 2022                  SNELL & WILMER L.L.P.
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                                                                                               9                                            By: /s/ David G. Barker
                                                                                                                                            David G. Barker
                                                                                              10
                   Chicago ♦ Cleveland ♦ Columbus ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                                                            Jacob C. Jones
                                                                                              11                                            One Arizona Center
                                                                                                                                            400 E. Van Buren, Suite 1900
                                                                                              12                                            Phoenix, Arizona 85004-2202
                                                                                              13
                                                                                                                                            TUCKER ELLIS LLP
TUCKER ELLIS LLP




                                                                                              14                                            David J. Steele
                                                                                                                                            Howard A. Kroll
                                                                                              15                                            Steven E. Lauridsen
                                                                                              16                                            515 South Flower Street
                                                                                                                                            Forty-Second Floor
                                                                                              17                                            Los Angeles, CA 90071-2223
                                                                                              18
                                                                                                                                            Attorneys for Plaintiffs,
                                                                                              19                                            Meta Platforms, Inc. (fka Facebook, Inc.),
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